                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                   GREENEVILLE DIVISION

 UNITED STATES OF AMERICA                                )
                                                         )
        v.                                               )              2:19-CR-96
                                                         )              JUDGE GREER
 CRAIG MATTHEW COLLINS                                   )


 TO THE HONORABLE MAGISTRATE OF THE ABOVE COURT:

             PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

        Your petitioner, United States of America, by and through the United States Attorney for

 the Eastern District of Tennessee, respectfully shows:

                                                   I.

        That Craig Matthew Collins is now in the custody of the Sullivan County Jail, at

 Bountville, Tennessee, pursuant to a lawful commitment.

                                                   II.

        That there is pending against the defendant, Craig Matthew Collins in this District the

 above-captioned case, which is set for an Initial Appearance hearing, or for his case to be

 otherwise disposed of upon said indictment heretofore returned against him, on August 16, 2019,

 in the United States District Court for the Eastern District of Tennessee, at Greeneville,

 Tennessee, at 10:00 a.m. that day and each day thereafter until said case has been disposed.



        WHEREFORE, petitioner prays that the Clerk of this Court be instructed to issue a writ

 of habeas corpus ad prosequendum to the Jailer, Sullivan County Jail, at Blountville, Tennessee,

 commanding him to produce the said Craig Matthew Collins before this Court at the time and

 place aforesaid for the purpose aforesaid, and that if the said Jailer so elects, the United States




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 Marshal for the Eastern District of Tennessee, or any other duly authorized United States

 Marshal or Deputy United States Marshal, be ordered and directed to receive said Craig Matthew

 Collins into his custody and possession at said Sullivan County Jail, at Blountville, Tennessee,

 and under safe and secure conduct to have him before the Judge of our District Court at the time

 and place aforesaid for the purpose aforesaid, and to return him to said Jailer, Sullivan County

 Jail , at Blountville, Tennessee, as aforesaid.

        Respectfully submitted, this the 31st day of July, 2019.

                                                   J. DOUGLAS OVERBEY
                                                   UNITED STATES ATTORNEY


                                         By: s/ Thomas A. McCauley
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